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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                           ROCKFORD DIVISION
CHRISTOPHER E. RIXEN, DWAYNE )
GERONZIN, BRAD MAYDEW, DONALD )
HUIZENGA AND TODD KRAMER on )
behalf of themselves and others similarly ) CASE NO. _______________
situated,                                 )
                                          )
                      Plaintiffs,         ) COMPLAINT
                                          )
v.                                        )
                                          ) Jury Trial Demanded
DANISCO USA, Inc. and DUPONT USA          )
                                          )
                     Defendants.          )


                          PRELIMINARY STATEMENT

       1.   Plaintiffs are current and former employees of Danisco USA, Inc. and

DuPont, USA who worked at the Thomson, Illinois facility. The Plaintiffs bring

this action against Defendants on behalf of themselves and their fellow workers to

redress the Defendant’ violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201,

et seq. (“FLSA”), and Illinois law regarding wages. At various times 2005 to the

present Defendants failed to pay its hourly employees completely for the hours

they worked thereby violating the FLSA, the Illinois Minimum Wage Law, 820 ILCS

105/1 et seq (IMWL) and the Illinois Wage Payment Collection Act, 820 ILCS 115/1 et

seq. (IWPCA).
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      2.      Defendants operate a food manufacturing facility subject to Good

Manufacturing Processes (GMPs) required by federal regulations. Defendants

manufacture low calorie sweeteners at the Thomson, Illinois facility.

       3.     As a result of the GMPs and other international food safety

standards, including the British Retail Consortium (BRC), Defendants require

Plaintiffs to go through certain procedures and wear certain PPE (personal

protective equipment) to ensure safety and the sanitary protection of products

manufactured at its facility.

       4.     Because of the GMPs and the sanitary food protocols, Defendants

require that hourly employees wear uniforms and require that the employees

change into their uniforms at the plant rather than taking or wearing the

uniforms on their commute.

      5.      In addition, regulations under the Occupational Health and Safety Act

(OSHA) require certain procedures with respect to PPE to protect the safety of

employees. Defendants’ procedures include requirements that employees wear

fire retardant uniforms and change daily at the plant. Defendants forbid

employees from taking their uniforms offsite.

      6.      Defendants utilize a nickel hydrogenation process to make its

products that involves the use of hydrogen gas, which under certain conditions

is highly explosive and dangerous.
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      7.      Defendants failed to compensate Plaintiffs for the time devoted to

these practices and procedures and thus have failed to compensate them for all

hours worked as required under the Fair Labor Standards Act and the Illinois law

regarding payment of wages.

      8.      The Plaintiffs seek money damages to redress the Defendants’

violations of law.

                                 JURISDICTION

      9.      This Court has jurisdiction over the subject matter of this action

pursuant to 29 U.S.C. § 216(b) (FLSA), 28 U.S.C. § 1331 (federal question

jurisdiction), and 28 U.S.C. § 1337 (actions arising under Acts of Congress

regulating commerce).

      10.     This Court has supplemental jurisdiction over the claims arising

under state laws pursuant to 28 U.S.C. § 1367 because those claims are so related

to the federal claims that they form part of the same case or controversy.

                                     VENUE

      11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b). The

Danisco/DuPont facility where Defendants employ these plaintiffs is located in

Thomson, Carroll County, in the Northern District of Illinois, Western division.

                                     PARTIES

      12.     Plaintiff Christopher Rixen was employed with Defendants as a

process operator/technician from approximately 1996 to October 2015.
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      13.     Mr. Rixen resides in Clinton, Iowa.

      14.    Dwayne Geronzin has been employed with Defendants from

January 2010 to the present as a process operator/technician.

      15.    Mr. Geronzin resides in Clinton, Iowa.

      16.    Todd Kramer has been employed with Defendants from December

2010 to the present as a process operator/technician.

      17.    Mr. Kramer lives in Fulton, Illinois.

      18.    Brad Maydew has been employed with Defendants from 1990 to

the present. He is a process operator/technician.

      19.    Mr. Maydew is a resident of Clinton, Iowa.

      20.    Donald     Huizenga     was       employed    with   Defendants   from

approximately September 2005 to March 2015. He was a process technician until

approximately 2009 when he became a lab technician.

      21.    Mr. Huizenga lives in Fulton, Illinois.

      22.    All of the proposed named plaintiffs have opted in and consented

to sue pursuant to 29 USC 216(b).

      23.    Danisco USA, Inc. is an active corporation organized and existing

under the laws of Delaware doing business in the Northern District of Illinois

and other locations at times relevant to this complaint.
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       24.   DuPont is an active corporation organized and existing under the

laws of Delaware doing business in the Northern District of Illinois and other

locations at times relevant to this complaint.

       25.   DuPont acquired Danisco in approximately 2012 and took over

operation of the plant in Thomson, although Plaintiffs’ paychecks continue to

be labeled as Danisco USA paychecks.

       26.   The pay practices under DuPont and Danisco are largely the same.

       27.   Plaintiffs bring their FLSA claim as a representative action on

behalf of “all persons working in hourly positions for the Dansico/DuPont at

the Thomson, Illinois plant from November 5, 2012 to the present,” however,

subject to the statute of limitations relating to the opt–in date of each individual

plaintiff.

       28.   Plaintiffs seek to bring their Illinois Wage Payment Collection Act

claims, on behalf of a Rule 23 class defined as “all persons working in hourly

positions for the Danisco, USA, Inc. Thomson, Illinois facility November 5, 2005

to the present.”

       29.   Plaintiffs seek to bring their Illinois Minimum Wage Act claims on

behalf of a Rule 23 class defines as “all persons working in hourly positions for

the Danisco, USA, Inc., Thomson, Illinois facility November 5, 2012 to the

present.
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                           CLASS ACTION ALLEGATIONS

      30.    Plaintiffs seek to bring claims, on behalf of a class defined as all

persons working in hourly positions for the Danisco USA, Inc./DuPont facility

in Thomson, Illinois.

      31.    Plaintiffs do not bring this claim on behalf of any salaried

employees who would be exempt under the executive, administrative or

professional employees under the FLSA.

      32.    Danisco/DuPont employees are exposed to hazardous substances

including working with hydrogen gas, which can be explosive if mixed with

oxygen and/or if the pressure and temperature conditions fall outside certain

ranges. These conditions require Defendants to implement safety precautions

including requiring uniforms of flame retardant material.

      33.    In addition, Plaintiffs process food, which requires the plant to

implement Good Manufacturing Practices under rules and regulations of the U.S.

Food and Drug Agency. In addition, the plant operates under a certification of

the British Retail Consortium for processing food and pharmaceuticals. As a

result of these regulations and certifications, Defendants require its employees to

don and doff uniforms daily at the plant.

      34.    Plaintiffs bring Count I of this Action as a collective action under

the FLSA on behalf of the class defined above. A collective action is appropriate
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because the employees described are “similarly situated” to the named plaintiffs.

29 U.S.C. § 216(b).

       35.      Plaintiffs will ask this Court to grant conditional certification and

issue an order allowing notice of the case and the employees’rights to opt in.

       36.      On information and belief, Plaintiffs state there are approximately

120 hourly employees who work or have worked at the defendant’s facility who

would be eligible to opt in.

       37.      Some examples of how the members of the class are similarly

situated include the following:

       a. All are located at the same work site – the Danisco/DuPont facility in

             Thomson, Illinois.

       b. All are subject to the same policies pertaining to payroll practices,

             including, donning rules regarding Personal Protective Equipment and

             requirements that the employees be at the work site, ready to work by

             the start of the shift but are not paid for any preparatory time.

       c. Specifically, Dansico/DuPont required that Plaintiffs wear uniforms

             specified and provided by Danisco/DuPont in order for it to be in

             compliance with Good Manufacturing Practices and BRC Global

             Standards. As a food and pharmaceutical processing facility,

             Danisco/DuPont requires that its employees wear uniforms of
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         specified materials and design, including that there are no external

         pockets above the waist or sewn on buttons.

    d. Danisco/DuPont also requires that its employees wear netting that

         covers hair and footwear.

    e.   Danisco/DuPont requires that employee uniforms be laundered by its

         designated uniform provider and donned at the facility in order to

         guard against contamination and to ensure that clean and dirty clothes

         are separated and that the clothing is hygienically clean following the

         washing and drying process.

    f.   Danisco/DuPont requires that its employees don their uniforms at the

         plant site at specified areas and store their street clothes separate from

         production areas.

    g. Danisco/DuPont requires employees to wash their hands prior to

         entering the production area to minimize the chance of contamination

         by allergens or adulteration.

    h. Employees are not allowed to wear their uniforms to and from work or

         work in their street clothes.

    i. In addition, hourly employees are not allowed to take uniforms home,

         but rather leave them at the plant for special laundering instead.

    j.   The required uniforms are made of fire retardant material because of

         the hydrogen gas and nickel catalyst used in hydrogenation used to
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               manufacture sweeteners can be highly explosive, potentially subjecting

               employees to flash fires.

         k. Federal OSHA regulations require that employees wear fire retardant

               clothing under these circumstances.

         l. In addition to the uniforms, Danisco requires that employees don other

               personal protective equipment including steel toed boots, hard hats,

               safety gloves, ear plugs or ear muffs, all in the Defendant’s locker

               room on plant premises.

         38.      In addition, Danisco/DuPont unfairly and illegally subjects its

hourly employees to quarter hour rounding practices under which an employee

who punches in one minute late is docked 15 minutes. Similarly, an employee

who works 14 minutes past the end of his shift is not paid for the time; the

company requires that employees work over 15 minutes before they are paid for

the additional time.

         39.      While Danisco/DuPont records the time these hourly workers

enter the plant and punch in, local managers routinely alter the records to show

the employees have worked only their scheduled shift.

         40.      Plaintiffs bring Counts II and Count III as a class action pursuant to

Rule 23 of the Federal Rules of Civil Procedure, on behalf of the class defined

above.
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       41.    Certification of a class of persons who may receive relief pursuant

to Counts II and III is appropriate pursuant to Fed. R. Civ. P. 23(b)(3) because:

              a.   The class is so numerous that it is impractical to bring all class

                   members before this Court. Based on information and belief,

                   the class consists of approximately 120 workers.

              b.   There are questions of law and fact common to the class. The

                   common questions of fact derive from the policies and

                   practices enforced at the Danisco/DuPont plant in Thomson,

                   Illinois. These policies and practices, including mandatory

                   clothes changing on the plant site, policy of not paying until

                   the shift begins and failing to pay employees based on the

                   continuous work day from the first compensable activity. In

                   addition, Danisco/DuPont unfairly and illegally subjects its

                   hourly employees to quarter hour rounding practices under

                   which an employee who punches in one minute late is docked

                   15 minutes. Similarly, an employee who works 14 minutes

                   past the end of his shift is not paid for the time; the company

                   requires that employees work over 15 minutes before they are

                   paid for the additional time. These practices resulted in a

                   significant underpayment of wages.
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           c.   The named Plaintiffs’ claims are typical of those of the class.

                The named plaintiffs seek the same relief as the rest of the

                class, namely damages associated with not being paid for all

                hours worked.

           d.   The named Plaintiffs will fairly and adequately protect the

                interests of the class and plaintiffs have retained counsel

                experienced in matters of this type.

           e.   Questions of law common to the members of the class

                predominate over questions affecting only individual

                members. Thus, a class action is superior to other available

                methods for the fair and efficient adjudication of this

                controversy. Examples of common questions of include

                whether the employees are entitled to wages for time devoted

                to donning and doffing of protective equipment, mandatory

                clothes changing at a designated locker room facility, for

                worked time before and after the shift and other work related

                activities.

           f.   Testimony and evidence about Defendants’ employment

                and/or timekeeping practices will affect and apply to the

                claims of all class members. Purely individual questions will

                be restricted to damages. If this Court does not certify a class
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                   action, it will be impractical for individual class members to

                   pursue relief or may lead to a large number of separate

                   lawsuits, all of which would rely on the same kind of proof

                   and require roughly the same amount of time, unnecessarily

                   burdening the courts.

                                                FACTS

       42.    At all times relevant to this action, Defendants were enterprises

engaged in commerce as that term is defined in 29 U.S.C. §§ 203(r) and (s).

       43.    At all times relevant to this action, Defendants failed to pay

Plaintiffs and other class members for all the hours they worked.

       44.    There      is   no   union   representing   the   employees    at   the

Danisco/DuPont Thomson facility and no collective bargaining agreement that

applies to these employees.

       45.    Defendants’ time records accurately record the number of

compensable hours worked by Plaintiffs and the other class members but local

managers routinely alter the records to show that the hours worked are limited

to the assigned shift.

       46.    Alternatively, Defendant’s time records were accurate but the

company failed to pay employees for their time, basing their pay on something

other than time clock records.
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        47.   Defendant’s employee handbook sets forth the company’s and its

employees’ agreement regarding pay practices.

        48.   The employee handbook states that for non-shift-non-exempt

employees, “All work performed in excess of your regularly scheduled eight (8)

hour day or forty (40) hours in any one week shall be paid at the rate of time and

one-half your regular rate of pay. Hours worked in excess of twelve (12) hours in

one day will be paid at double time.”

        49.   In addition, the employee handbook/pay practices provide that

work performed on the 7th consecutive day is eligible for double time rates.

        50.   For shift personnel, a similar agreement exists. The company and

shift employees agreed that “all work performed in excess of forty (40) hours in

any one weeks shall be paid at the rate of time and one-half your regular rate of

pay.”

        51.   From November 1, 2005-the present, Plaintiffs and the other

members of the class worked well in excess of forty (40) hours in a certain

workweeks and more than eight hours per day.

        52.   From November 2005 to the present Defendant failed to pay the

Plaintiffs and the other members of the class overtime wages for all compensable

time they were employed by Defendant in excess of forty (40) hours in a given

workweek.
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     53.   Defendant failed to properly pay Plaintiffs by all of the following

means:

           a.   By requiring that all employees wear uniforms consistent with

                the requirements of being a food and pharmaceutical

                ingredient processing facility and requiring them to change out

                of street clothes and into their uniforms on the plant site in

                designated locker rooms.

           b.   By requiring the employees to change out of their uniforms

                before leaving the plant site to avoid contamination from

                outside the plant and in part because of the potential for

                bringing lactose and other substances into the homes of

                employees.

           c.   By altering time records to show that employees worked only

                the hours of their assigned shift and not the actual time showed

                by their time clock records.

           d.   By implementing a policy that paid employees only for 15-

                minute increments, thereby violating the rounding regulations

                of the Department of Labor. 29 CFR 785.11. Under

                defendant’s policy, any employee clocking in one minute late

                or one minute early would be docked 15 minutes. Similarly,

                under Defendant’s policy, an employee working up to 14
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                minutes past the end of the shift would not be paid for the

                additional time.

           e.   By refusing to pay Plaintiffs and other employees on a

                continuous work day basis after their first compensable activity

                of the day.

           f.   By requiring Plaintiffs to perform work after their clock-in time

                and refusing to pay them for it.

           g.   By failing to pay overtime for hours the Plaintiffs worked in

                excess of forty (40) hours in a given workweek, the Defendant

                violated FLSA’s overtime provisions.

           h.   By specifying in its plant rules that certain non shift employees

                working more than eight hours per day would be compensated

                at one and a half times their regular rate but failing to do so.

           i.   By specifying in its plant rules that shift employees would be

                paid double time for hours over 12 per day but failing to do so.

           j.   All of the employees’ time devoted to changing into the

                company required uniforms on the company site and meeting

                with operators to hand off the processing were integral and

                indispensable to their work and were thus principal activities

                of their jobs.
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             k.   Defendants’ maintain pay practices that constitute an

                  agreement with their employees that allow for time and a half

                  and/or double time for hours worked over the regular

                  schedule. These premiums apply to certain job assignments.

                  The unpaid worked time would cause these premiums to be

                  paid but Defendants failed to pay as agreed.

      54.    In addition, Defendant failed to make, keep and preserve adequate

records of the wages, hours and other conditions and practices of employment

because the Defendant’ time records fail to accurately records the number of

hours each employee worked and the total hours worked each week.

      55.    The Defendant’s failure to pay the Plaintiffs federally mandated

overtime for hours worked weekly in excess of forty (40) hours was a willful

violation of the FLSA and the Illinois Minimum Wage Act, 820 ILCS 105/1 et seq

(IMWL).

      56.   Defendant’ failure to pay wages when due violated the Illinois Wage

Payment Collection Act, 820 ILCS 115/1 et seq. (IWPCA).

      57.    All of the actions and omissions alleged above were undertaken by

the Defendant directly and/or through their agents.
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                           FIRST CAUSE OF ACTION
                     FAIR LABOR STANDARDS ACT CLAIM

       58.     Plaintiffs re-allege and incorporate by reference the allegations set

forth above.

       59.     Defendant violated the FLSA rights pursuant to 29 U.S.C. §§ 206

and 207 of Plaintiffs and the members of the class they seek to represent, for

which Plaintiffs and other class members are entitled to relief pursuant to 29

U.S.C. § 216(b).

       60.     The actions of the Defendant violated FLSA provisions regarding

overtime requirements by refusing to pay Plaintiffs for time they spent on

company premises devoted to the principal activities of their employment.

                       SECOND CAUSE OF ACTION
             ILLINOIS WAGE PAYMENT COLLECTION ACT CLAIM

     61.       The Plaintiffs re-allege and incorporate by reference the allegations

set forth above.

     62.       This Count sets forth a claim by the Plaintiffs and the other

members of the class for money damages, with respect to the Defendant’

violations of the 820 ILCS 115/1 et seq. (IWPCA).

     63.       The unlawful practices outlined here were committed within the

State of Illinois.

     64.       Defendant is an employer within the meaning of the 820 ILCS 115/1

et seq. (IWPCA).
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     65.      Plaintiffs and the other class members are employees within the

meaning of the 820 ILCS 115/1 et seq. (IWPCA).

     66.      Defendants and their employees had an agreement outlined in the

employee handbook and defendants’ documented pay practices that time and a

half and double time premiums would be paid in certain job categories and

under certain job assignments, including when working on the 7th consecutive

day or over the regularly scheduled shift. The agreement also provided that

employees would be paid time and a half for hours over 40 per week.

     67.      Defendant failed to pay Plaintiffs the full amount of their wages

earned, in violation of the 820 ILCS 115/1 et seq. (IWPCA).

     68.      Defendant failed to pay wages due to Plaintiffs and the other class

members, in violation of the 820 ILCS 115/1 et seq. (IWPCA).

     69.      Defendant’s acts violate the 820 ILCS 115/1 et seq. (IWPCA).

     70.      The actions of the Defendant have proximately caused the Plaintiffs

to suffer past lost wages an amount to be determined by this Court.

     71.      Defendant’s failure to pay these amounts of wages and benefits

owing is intentional.

     72.      Defendant’s have willfully and intentionally violated the 820 ILCS

115/1 et seq. (IWPCA).

     73.      Plaintiffs are entitled to unpaid wages, liquidated damages,

attorneys fees and costs
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                             THIRD CAUSE OF ACTION
                          ILLINOIS MINIMUM WAGE ACT


     74.       Plaintiffs re-allege and incorporate by reference the allegations set

forth above.

     75.       Danisco/DuPont violated the Illinois Minimum Wage Act, 820 ILCS

105/1 et seq (IMWL) by its refusal to pay Plaintiffs for all of their time worked as

outlined above.

     76.       The actions of the Defendants have proximately caused the

Plaintiffs to suffer past lost wages an amount to be determined by this Court.

     77.       Defendants’ failure to pay these amounts of wages and benefits

owing is intentional.

     78.       Defendants have willfully and intentionally violated       820 ILCS

105/1 et seq (IMWL)


                              JURY TRIAL DEMAND

               Plaintiffs and the Class demand a trial by Jury.

                               PRAYER FOR RELIEF

       WHEREFORE, PLAINTIFFS PRAY FOR RELIEF AS FOLLOWS:

       1.      Damages in an amount to be proven at trial, including lost wages,

benefits and liquidated damages;
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      2.     An Order certifying the Class and/or allowing the action to

proceed as a representative action under 29 USC 216 and F. R. Civ. Proc. 23.;

      3.     An Order awarding Plaintiffs their Attorneys’ Fees, Costs, and

Disbursements;

      4.     Any other relief this Court deems equitable and just.



                                         Respectfully submitted,


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